Case 3:16-cV-01133-RG.]-.]P|\/| Document 1-4 Filed 08/02/16 Page 1 of 13 Page|D #: 23

®SCAR L, SH@ENFELT, HL §J,L,C.
AI'£'(;BRNEYS A’l` LAW

 

OSCAR L. SHOBNFELT, IH 2109 Pnk§<l§s R<JAD TEI.RPHQN); - ( 251 33 6~4300
BA':UN .RQUG£, Lotzzsmm 70808 FA<, .1\2;¥1;~{_225) 336-43ng
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fune 29, 2016

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MS. A'mzmda Schaefer Vijay Ma`ggio, M`D.
Bimmnic$ Neuro Metric~‘s Biotr<)nic;s Neuro §\/Ietrics
312 A vis Drive 812 Avis Dl'ive

Alm Arbc)r, M_I 48108 .Alm Arbor; MI 4810§§

Bio'£ronic$ Neurc) ;\53 eu‘i<:s
Attn: L»egal Dcpartmen£
812 Avis Dri'v€z

Ajm Arb€)l“, Ml 431()3

Re: Stacey Aultmmz, et ux. V( Vijay Mag,gio, .M.D,§ ct al.
Parish oi`Ouachii:a, State of`f,<)uisiana, Dock,et §\3"0. C-Z()l(\.l 963 Sec. (1,`5
Our l:'.ik: NO`: 081 7

Dczar Sir or N'! adam:

Pur$uant to the I,.ouisiana L<)'ng~@rm Stzmzte (Lz.. Re.v. Smt. Alm. S@c, ].3;'3201g §L§g;;g.),
enck)'sad is 21 Citation and Petitien for Damag€s in the abc)\"¢:~referenc<~:~d mattel Please note that
Plaintit"fs” Inte~u~ogat<)yie$ and Request for Pl'oduction. of Docu;z)ems Di'rected m 'l,}<:f€ndauts,
Vijay Maggi 1;), I\'LD., Amzmda Schaezfer, MS, DAB`N, Biotronics Neummch~ics a’;l»»’a The
Bic)i.muic- Neuronetwork and St. Franc,~;$ Medical Ccut€r are also enclos@d.

Pl<:‘ase c@nmct this office immediately mp<)n your receipt of this correspcndeuce and

enclosure
Thzmk you
Very twiy yours,
agw%<;w@
§

Joyc@ R. Goldner, L-agal Assistan.t to
()sca.t' L. Sh()eni`elf_, 111

/fi:»z

Euclosures

 

Case 3:16-,cv-01133-RGJ-.JP|\/I Document 1-4 Filed 08/02/16 Page 2 of 13 Page|D #: 24

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v _ ’ PARESH; 011 QUACHITA
vM.D.’111,111¥ MAGGI¢:> . if * FoURTH.RMcIAL ingrch comm

z v TO: M D VI TAY MAGGIO
' BIOTRDNICS NEURO MBTR]CS AKA THE BIOTRGN IC
NEURGNETWORK
812 AV'IS DRIVE ,
ANN ARBGR, =MI 518ng '

' YOU HAVE BEEN SUED

Attached to this Citatic)rx 13 a certified copy of the Pctiti@n T}ie petition tells you
what you are being 311<~3<1 for Y<)u must EITHER dc what the petition asks, OR, Wl£hin '
THIRTY (30) days after the filing 111 the record of the affidavit oftlze individual who .
either mailéd or actually delivered the process to you you must tile an answer 01 other
legal pleadings m the O§f‘ce of the Clerl< of this Court at the Ouachita Parish Com‘thouse
301 South G'Tand Mom‘oe, Louisiana If you do not do what the petition asks, of if you
do nut file an answer 01 other legal pleading Withm the delays allow ed by law
judgment may be entered against yell \\itbour further notice

'L`his Ciiation` Was issued by the .Cle§l< of Court» for ()uacllifa Par§sli this ]UNE 271 2916',

OUACHITA PARISH CLERK OF COURT

, ALSG attached are the following:j
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REGULAR MIL a certified copy of this vCitati\;m on this the .lUNE 27, 2016, for
' mailing to M.D. VUAY MAGGIO‘,

TO: OSCAR SHOENFELT
2109 PERKINS ROAD BATON ROUGE LA 70808

' 1311:1.1=<)€9 ‘

 

s Deputy Clerk
7 » ORIG1NAL -- m 313 FIL§;B 111 REC@R§)
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STACEY AoLTMAN and eurr i\io‘ eeo
HEATHER AoLTi\/iAn

7 » ah JuoicAL oieraicr couRT
veneoe § §§ ~ 'i §§ i;i i;`r

PARISH OF OUACH|TA
\/’iJAY l’\/lAGGiO, i\/iD.,
Al\/lANDA SCHAEFER, i\/lS, DABNN= STA`I`E OF LOUIS!ANA
BIOTRONICS NEURO METRECS a/K/a
THE BiOTRONlC NEURONET\/\/ORK and
ST'. FRANC|S i\/lEDiCAL CENTER

   

 

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Permor\: Foa oAMAeEs °UACH'TA mesa m

 

`l`l’le Pet§iion of STACEY AULTMAN and HEATHER AULTMAN, persons of the
full age of majority domiciled in the Parisn of Wee‘r Carroil, S’caie of l_ouisiana,

respectfully represents

i\!lade defendants herein are:

A. \/ijay l\/laggio, l\/f.D., Wno, upon beliei, is a non-qualified healthcare provider in
accord with ina Louisiana l\/iedicai ivialpraciice Ac’€, practicing in the Parieh of
Ouachita at St. Francie i\/ledical Center.

B. Amanda Scnaeier, i\/iS, DABNN, Wno, upon belief‘ is a non~qualiiied
neai’rncare provider in accord With the l_ouieiana l\/ledical i\/lalpraci§ce Acl,
Working in the Parisn of Guacnira at St, Francis i\!ledicai Center and upon
beiief, domiciled in the State of Lou§siana.

C. Bioironics Neuro Meirics a,"i</a The Biotronic i\ieuroneiiworl<, a foreign
con"ipanyx Who, upon information and l:)elieig is the employer or \/ijay Maggio,
l\)'i.D, and Amanda Scnaerer, i\/lS, DABNN, Wnich has ila employees practicing
medicine in ina Parish of Ou_achita, State of Louisiana.

D. St. Francis lviedicai Center for the vicarious acts of the above'named

defendants vth operated and provided medical care in the Parieh of
Ouachiia, Stale of i_ouisiana

2.
Ai ali iimee pertinent hereto, Siacey Auitman and Heatrier Auitman Were married
to and living Wiln each other
3.
A medical malpractice Compiainl visas filed by Peti’doners herein on Augost 201
2015, against St. Francis §\/ledical Center, Bemie i\/lci~lugh, iVi.Dq Ouacni’ra
Neuroeorgery Center, Al\/iC and Walter Sartoz', i\/l.D. On i\/iay 16, 2016, a Supplementai
and Amen<;iing Complaint Wae riied naming \!Z§ay Maggio, i\/l.D., Amanda Schaefen ivle

DABNN and Biotronioe Neuro Metrics as additional defendanrs, since they are solidarin

 

iiable with the other defendants, St. St. Francis i\!iedicai Center§ Bernie i\/lcl-iugh,i»fl.D

    

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Ouachita Neorosurgery Center, Ai\/iC and Walter Sartor, l\/i.D in this medical malpractice
action
4.
ln a letter dated i\/lay 25, 2016, the Louisiana Patient's Compensation Fund
stated that \/ijay l\./laggio, i\/i.D., Amanda Schaeter, E\/lS, DABNN and Biotronics i\leuro
l\/ietrics are not considered qualified under the provisions of LA RKS. 4011231.1 et sed.
5,
Petitioner, Stacey Aultman, Went to St. Francis Medical Center for surgery by Dr.
Bernie i\/chugh on C»ctoher iO, 2014, 'i'he procedure performed was an extreme lateral

interbody fusion {XUF) of the T6~7 level.

Surgery was performed by Dr. Bernie i\/icHugh and Dr. Walter Sartor` Alter the
initial surgery, Stacey Auli:man had no motor function in his bilateral lower extremities
Mr. /-\uitrnan Was subsequently returned to surgery to revise the TG~`/' XLiF and an Xl_lF

was performed at the T5-6 ievel.

During the surgery performed by Dr. i\/lcl-iugh and Dr. Sartor, the defendants
Amanda Schaeter, l\/l,S,, DABNN and Dr. \/ijay l\/laggio, were assisting the surgeons in
operative spine mr:)nitoringx upon belief as the borrowed servants and/or agents ot St.
Francis i\/iedical Center and under the direction ot St. Francis i\/ledical Center. At ail
times pertinent hereto, it is also believed that Amanda Schaeter, l\/l.S., DABi\ii\i and Dr,
Viiay i\/laggio, were also employees or Btotronics i\leuro l\/ietrics, a/i</a The Biotronic
Neuronetworl<. The patient came into the operating room at approximately B:ii a.rn.
The patient iett the operating suite at approximateiy i:38 p.m. `i“he duration ot the
surgery was 5 hours and 27 minutes Dunng the surgery, at approximately 1033 a.rn.} it
was noted by the monitors that the TcEl\/iPs were present and enhanced however only
marginally present right foot and'not present in legs or left foot Dr. l\/icl~iugh Was hotiiied
and acknowledged this at that point in time Again, at 10;32 a.m,, it is noted that “4/4

i_PTi\l, TcEl\/lPs hands-only present not iegs, nor teet, 200 l\/lA, 0.5 l\!lS, 3582.” `l`he

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absence ci monitoring in the legs is again noted at 1056 a.rn. Despite being notified by

the operative spine monitor team, Dr. i\/lci'iugh proceeded with the surgeryl

At approximately 12:37 pim., there was again noted a significant decreased
bilaterally in the electrical monitoring i\/ionitoring now indicated it was absent and this
was discussed and the surgeon, Dr. l\/lcliugh, was notified instead ot waking the
patient up, again Dr, l\/icHugh proceeded with the surgery At i:OO p.m., it was again
noted that the responses were absent and the surgeon was informed but proceeded
with the surgery instead of determining what was causing the lack ot monitoring the
surgeon, Dr, l\/lcl-iugh, decided to close the patient and get an i\/lRi, which caused
further delays in determining the etiology of the problems causing the neurological
impairment to the patient which had been present since iO;'i?) a.m. An i\/lRl taken at
approximately 3:09 p.m. showed that the hardware was extending posterioriy into the
spinal canal with contact along the ventral cord and posterior displacement of the cord.
The patient was taken back to the OR to remove and replace the cage hy Dr. ivici-lugh
and Dr. Sartor. Additionaliy, closing the right hand response was noted by technologist

but Dr. i\/lci-lugh chose not to evaluate due to closure ot the case

Despite the second surgery, Stacey Auitman remains paralyzed in his bilateral
lower extremities and is wheelchair bound; his quality of lite has been greatly diminished

as a result ot the surgery
iO.

The defendants were negligent in the following respects

'i, Failure to properly evaluate and monitor the patient

2. Failure to properly treat the patient

3. Faiiure to properly diagnose the patient;

4. Faiiure to properly consult and discuss the case with other
physicians;

dol

Failure to properly convey information to other physicians;

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6. l:aiiure to have proper procedures in place to avoid mistakes
in forwarding intormation;

7. All other acts as seen on objective review by a qualified
heaithcare provider,

8, r’~'ailure to act reasonably and within the standard ot care;
and
Q. /-\ny other act or acts of negligence that plaintiffs do not

recognize or identity

’l i.
Petitioners plead the doctrine ot res ipsa loquitur and lack ot informed consent
12.

Petitioners ask for all damages appropriate loss of consortium including all
general and special damages, including loss of enjoyment ot life, medical expenses

past and tuture, past and future wages, and loss ot function or disability
t3.

Petitioners are entitled to an award for damages tor ali, in a reasonable amount1

including but not limited to the tollowing:

Past and future medical expenses Darnages as are reasonable in the premises
Pain and suffering Damages as are reasonable in the premises
Emotional and mental suffering Damages as are reasonable in the premises
l_oss ot tunction and disability Damages as are reasonable in the premises
Loss ot consortium Darnages as are reasonable in the premises

F’ast and tuture loss of earning abiiity Darnages as are reasonable in the premises

14.
Petitioners requests trial byjury on all issues herein
WHEREFORE, Petitioners pray that defendants be cited and served with a copy
ct this Petition, and that after due proceedings are had, there be judgment rendered
herein in favor ot Petitioners, Stacey Aultrnan and l-ieather Aultrnan, and against
detendantsI \/ijay Maggio, l\/i.D., Andrea Schaeter, l\/lS1 DABNN, Biotronics l\leuro
ivletrics a/K/a The Blotronic l\ieuronetwork, St. Francis l\/iedical Center and against all

defendants after the l\/ledical Review Panel hearing, jointiy, severally and fn solido for
4

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Such amoums as are reasonable in the premises, together With ieget interest Thereon

from the date Petitioners’ request for a f\/iedical Revievv Panel Wi'rich Was filed With the

Louisiena Patien‘c’$ Cc)mpensetion Fund O\/ersight Board on Auguei 20j 2015, and for

all costs cf these proceedings

P¥_EASE SER\/E THROUGH THE

LOU}SIANA LONG AR!\/£ STATUTE;

\/'ijay I\/?eggio, l\/E.D.

Biotronics Neuro Metrice a/K/a
The Biotron§c Neuronet\/\/ork
812 Avis Drive

/-\nn Arbc)r, ME 48108

Amande Schaefer, MS, DABNN
Biotronics Neur'o Metr§cs a/l</a
The Biotronic Neurc)netvvork
812 Avis Drive

Ann Arbor, !\/1148108

Biotronics Neuro ¥\/Ieirics e/K/a
The E‘»iotronic Neur'onetwork
812 A\/is Drive

Anrz z'-\.rbor, Ml 48108

PLEASE SER\/E BY iTS
REG[STERED AGENT

Si. Francis ¥\/!ed§ca! Center, Inc.
Kris’ren Wolkaz”f

309 Jackson Street
i\/!onroe, LA 71801

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J§espect§ll!y §<bmi'cted:

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OSCA`R~E. SHC)ENFE!§F“:FH“
Bar Roli Number: 1203‘}
OSCAR L. SHOENFELT, lll, L.L.C.
2109 Perkins Road
Baton Rouge, I_A 70803
225-336-4300
22'5~336-4350 (fax)

Case 3:16-cv-01133-RGJ-JPM Document 1-4 Filed 08/02/16 Page 8 of 13 Page|D #: 30

srAcEY AULTMAN and suit NO. sEC.
HEATHEF< AULTMAN
_ d §§ JUDICAL eisTRicr coui=<r
\/ERSUS 36-1363
PARisi-i OF ouAcHirA
viJAY MAGG;O, M.D., fn mm
AMANDA scHAEFER, ms D/-\BNN, s'rArE QF LOUisiAN)’-\ §p:¢€§ 55*'§` §

   

B|OTRONICS NEURO METRICS a/k!a
THE BIOTRONIC NEURONE'WVORK and
ST. FRANC!S MED¥CA§_ CENTER

 

      

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_QBL)§B_ ( OUACI-iim PAR¢SH ;._A

Cortsiciering Petitioners’ request contained iri the Petition for Demages:

iT iS ORDERED that this matter be set for trial y jury, upon Petitieners
depositing the required M€jv&ry bond as required

““”/ `T@ \:§C; 593 O~

 

by ie\/\/.

SiGNED at\`)\(\ ,i”' ‘ , Lcuisiema, this i§;)\z-g day of

Q,./>:Q, 2016

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OSCAR'E sH‘OENFELr?, Tii “
Bar Roii Number: 12032

OSCAR i_ SHOENFELT,\h ii i_ L C
2‘§09 Peri<ins Roed

Batori Rouge, l_A 70808
225-336~4300

225-336~4350

 

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Case 3:16-cV-01133-RG.]-.]P|\/| Document 1-4 Filed 08/02/16 Page 9 of 13 Page|D #: 31

STACE`Y' AU|_TMAN end SUIT NO. SEC`
HEATHER AULTMAN

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sr FRANois ueuioAL cENTER

 

 

REQUEST FOR NOT§CE MSH, iii

 

in accordance With the provisions of the i_ouisiene Code of Ci\/il Prooedure, you
are hereby requesied to give us Written notice, by maii, ten (10) days in advance of the
date fixed for triei of this cese, Wheiher on exceptions rules or the merits thereof

in accordance with the provisions of the l.ouisieoe Code of Civil Procedure, you
are eiso requested to send us immediate notice ot any order or judgment made or

rendered in this cese, upon entry of such order orjudgmeni4
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ear F<oii Number; 12032 t

eiser L, sHoeNFELT, iii7 L.L`o.
2109 Perl<ine Roed

Baton Rouge, i_A 70808
225-336-4300

225-336-4350 (iex)

 

Case 3:16-cv-01133-RG.]-.]P|\/| Document 1-4 Filed 08/02/16 Page 10 of 13 Page|D #: 32

STACEY AULTi\/lAi\i and SUET NO. SEC.
HEATHER AULTMAN ,

5"" JUD§CAL DlSTR|CT COURT
\/ERSUS

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erAY r\/iAeoio, iv..o., t 3 § ii §§ 5
AMANDA soHAEFER, us, oABNN, srArE or i_oursiANA
eio"rnoi\iics NEuRo z\/rE'rRics a/i</a

rea erornouic r\iEuRoNEr\/voei< and

sr. FRANcis i\/iEoicAL cENrER

 

 

PLAENT!FFS’ !NTERROGATOR¥ES AND REQUEST FOR PRODUCTEON OF
DOCUEVIENTS DfRECTED TO DEFENDAN'§'S
VEJAY MAGG¥O, N§.D., AMANDA SCHAEFER, NIS, DABN,
BEOTRON!CS NEURONIETR¥CS alki'a THE BJGTRONEC NEURGNETWORK and
ST. FRANCIS NEEDICAL CENTER

TO:

Amanda Scnaetier, i\/iS, D/-\Bi\li\i \/ijay lvlaggio, i\/l.D.

Biotronics l\ieuro l\/letrics a/k/a Biotronics l\ieuro l\/ietrics a/k/a
Tne Biotronic i\leuronetvvork Tne Biotronic i\ieuronetvvorl<
812 Avis Drive 812 Avis Drive

Ann /-\rbor, Mi 48103 Ann Arbor, i\/li 48108
Biotronics l\ieuro i\/ietrics a/l</a St. Francis i\/iedicai Center
Tne Biotronic Neuronetwork Througn its agent

812 Avis Drive Kristen Woii<art

Ann Arbor, Mi 48108 303 Jackson Street

l\/lonroe, LA YiBOi

PLEASE TAKE NOT|GE that you are required to answer separateiy, tuiiy, in vvriting
and under oatn, the foiiovving interrogatories and Requests for Production ot documents
served on you and to serve your answers thereto orr undersigned counsel Witnin fifteen
('15) days trorn the date of service hereof in accordance Witn the provisions of tire
i_ouisiana Code ot Civii Procedure,

Tnese lnterrogatories and Requests are to be deemed continuing in nature and your
responses hereto should be amended supplemented or updated so es to provide aii
responsive information
REQUEST FOR PRODUCT§ON NO. “i

Produce copies ot ali contracts of employment or otrienzvise ot any type between

\/ijay i\/ieggio, i\/i.D. and Biotronics Neuro ivietrics and/or Stx Francis l\/iedical Center_

Case 3:16-cv-01133-RG.]-.]P|\/| Document 1-4 Filed 08/02/16 Page 11 of 13 Page|D #: 33

REQUEST FOR PRODUCTEON NC. 2
Produce copies of ali contracts ot empioyment or otherwise ot any type between

Arnanda Schaetier and Biotronics i\ieuro i\/letrics and/or St. Francis i\/iedical Genter,

REQUEST FOR PRODUCT!ON NG. 3
Produce copies ot all documents and/or contracts ot any type evidencing the
relationship between \/iiay l\/iaggio, i\/l,D. and Biotronics Neuro i\/letrics and/or St, Francis

i\/iedical Center.

REQUEST FGR PROBUCTEGN ND. 4
Produce copies ot aii documents andfor contracts of any type evidencing the
relationship between Arnanda Schaetier and Biotronics Neuro l\/ietrics andior St. i:rancis

i\/iedical Center.

REQUEST FOR PRODUCT£ON NO. 5
Produoe copies of any and ail documents showing any compensation paid to Vijay
l\/iaggio, i\/i.D. trorn Biotronics i\leuro i\/ietrics and/or St. Francis l\/iedicai Center, inciuding

but not iimited to iRS Form W-?_ or paycheck stops

REQUEST l'-'OR PRGD¥}CT¥GN NO. 5
Produce copies of any and aii documents showing any compensation paid to
Arnanda Schaetter from Biotronics i\ieuro i\/letrics and/or St. Francis i\/iedicai Center,

including but not iirnited to iRS Forrn VV-2 or paycheck stubs

REQUEST FOR PRODUCT!GN NO. 7

Produce copies ot any and ail documents or otherwise including eiectronic
generated documents showing any and aii communications between \/ijay i\/iaggio, MD.
and Biotronics J\ieuro Nietrics and!or St. Francis i\/iedical Center regarding any and aii
treatment rendered by any entity to Stacey Aultrnan at anytime, inciuding but not limited to

August 20, 2015,

id

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REQUEST FOR PRCBUCT|ON NGK 8

Produce copies of any and ail documents showing any and all communications
between Amanda Schaeter and Biotronics i\ieuro l\/ietrics and/or St. Francis i\/iedicai Center
regarding any and aii treatment rendered by any entity to Stacey Auitrnan at any time,

including but not limited to August 2G, 2015.

ENTERROGATORY NO. 'i
Please provide the toiiowing information with regard to \/ijay Maggio, i\/i.D.;
(a) Fuli name and any other names he has been known by
(b) i~iome and business mailing address

(c) Education~and protessionai quaiitications. A resume or C\/ can be submitted
to respond to this lnterrogatory,

ENTERROGATORY NG. 2
Please provide the following information with regard to Amanda Schaetier:
(a) Fuii name and any other names she has been known by.
(b) Horne and business mailing address

(c} Education and protessionai qualifications A resume or CV can be submitted
to respond to this interrogatory

SNYERRGGATOR\’ ND. 3

State whether there exists any poiicy(ies) ot insurance which operates to provide
iiabiiity insurance coverage to \/ijay i\/laggio, ivi,D., Amanda Schaetier and Biotronics
Neurometrics a/i<!a The Biotronic Neuronetwork for personai injury damages arising from

the circumstances alleged in piaintitts’ Petition for Damages.

ENTERROGATOR\’ NO. 4
it the answer to the preceding interrogatory is in the attirmative, please state:
av the name and address ot the insurance company issuing said poiicy;
b. the number ot said policy;

c. the effective date and expiration date thereot;
1

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d. the limits of liability insurance coverage afforded by said policy for injury to
any one person; and

e. the limits ot total liability insurance coverage afforded by said policy

REQUEST FOF€ PRODUCTEON NG. 9

Produce a copy ot the poficy referenced in interrogatory No. 4.

By!,f\ttprn€yl v
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Bar Roll l\iumber: 12032'

OscAR L. SHOENFELT, iil, t_.l_`CK
2109 Perl<ins Road

Baton Rouge, LA 70808
Telephone; (225)336-430@
Facsimile: (225)336~4350

CERTlFiCATE OF SERV¥CE
l hereby certify that a copy ot the foregoing has requested to be served upon \/EJAY
P\AAGGlO, i\/l.D., Al\/IANDA SCHAEFER, i\/iS, DABNN, BlOTROE\ilCS NEURO l\/EETRECS
a/l</'a THE BEOTRONlC NEURONETVVORK and S`i'. FRAl\lClS l\!lEDlC/\L CENTER With
service ot the Petition for Damages.

. . N;L' z
Baton i;<ouge, Loulsiana this §§ day!o‘f seem ,2016.

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